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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:04CR432
                                           )
                    Plaintiff,             )
                                           )                 MEMORANDUM
             v.                            )                  AND ORDER
                                           )
LAWRENCE A. PETERSON,                      )
                                           )
                    Defendant.             )

       This matter is before the Court on the Court’s own motion. The Court has received

and reviewed the 2014 Drug Retroactive Sentencing Worksheet (“Worksheet”) prepared

and submitted by the District of Nebraska’s Probation Office regarding the Defendant’s

possible reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2). T herefore,

       IT IS ORDERED that:

       1.    No later than April 3, 2015, counsel of record shall confer and do one of the

following:

             A.     File a stipulation signed by both counsel containing the
             following provisions: (i) an agreement that the defendant is eligible for
             a sentence reduction pursuant to 18 U.S.C. § 3582(c) and U.S.S.G.
             § 1B1.10; (ii) an agreement that the defendant may be resentenced
             without being present and without further notice; and (iii) an
             agreement regarding the recommended sentence; or

             B.    In lieu of the stipulation described in paragraph A, counsel for
             the government shall contact my judicial assistant and arrange a
             telephone conference with the undersigned and counsel for the
             defendant so that further progression of this case may be scheduled.

       2.    In the event that the parties do not respond by the deadline listed above, the

Court has the discretion to resentence the Defendant pursuant to the information contained

in the Worksheet.

       DATED this 5th day of March, 2015.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge
